        Case 1:07-cv-00151-RFC Document 20 Filed 01/13/09 Page 1 of 2



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Attorneys for Defendant Rocky Mountain College


                 IN THE UNITED STATES DISTRICT COURT,
            FOR THE DISTRICT OF MONTANA, BILLINGS DIVISION

                                        )
CHERYLE PETTIGREW,                      ) Cause No.: CV-07-151-BLG-RFC
                                        )
                        Plaintiff,      )
                                        )
      vs.                               )    NOTICE OF CHANGE OF
                                        )        LAW FIRM NAME
ROCKY MOUNTAIN COLLEGE,                 )
                                        )
                       Defendant.       )

      Counsel for Defendant Rocky Mountain College hereby notifies this Court

and other counsel that the firm of Crowley, Haughey, Hanson, Toole, & Dietrich

P.L.L.P. has changed its business name to Crowley Fleck, PLLP effective as of

January 13, 2009. The address, telephone, and fax numbers remain the same.

Counsels’ e-mails have changed to slehman@crowleyfleck.com and

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 Case 1:07-cv-00151-RFC Document 20 Filed 01/13/09 Page 2 of 2



Dated this 13th day of January, 2009.

                         CROWLEY FLECK, PLLP


                           /s/ Christopher C. Stoneback_
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                                Page 2 of 2
